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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION

GINA TORRES and DENNIS L. TORRES,                         )
                                                          )
                          Plaintiffs,                     )
                                                          )
vs.                                                       )     Case No. 4:19-CV-1525-DDN
                                                          )
CITY OF ST. LOUIS, et al.,                                )
                                                          )     JURY TRIAL DEMANDED
and                                                       )
                                                          )
POLICE OFFICER BENJAMIN R. LACY,                          )
                                                          )
                          Defendants.                     )

                                  FIRST AMENDED COMPLAINT

        COME NOW Plaintiffs Gina Torres and Dennis L. Torres and for their First Amended

Complaint against Defendants, jointly and severally, state as follows:

                                               PARTIES

        1.         Plaintiff Gina Torres is the surviving mother of Isaiah M. Hammett whose

wrongful death was caused by Defendants. Gina Torres is a resident and citizen of the City of St.

Louis, State of Missouri.

        2.         Plaintiff Dennis L. Torres is and at all times relevant hereto was a resident and

citizen of the City of St. Louis, State of Missouri. Dennis L. Torres is the owner of the residence

at issue herein.

        3.         Defendant City of St. Louis is a governmental entities created by and established

under the laws of the State of Missouri, including pursuant to Article VI § 1 of the Missouri

Constitution. At all times relevant hereto Defendant City of St. Louis acted through its agents

and employees including Defendant Police Officers Lance Coats, Glennon P. Frigerio, Joshua D.




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Becherer, Nicholas J. Manasco, Ronald Allen, John C. Jones, Mark S. Seper, Jon B. Long, Tim

Boyce and Benjamin R. Lacy (“Defendant Officers”) as well as other agents and employees of

the St. Louis Metropolitan Police Department. The Defendant Officers are named in their

individual capacities as to each of the federal civil rights claims herein brought pursuant to 42

U.S.C. §1983 and 42 U.S.C. 1985.

                                         JURISDICTION

       4.       Plaintiff Gina Torres brings this action due to the violation of her deceased son,

Isaiah M. Hammett’s, civil rights under 42 U.S.C. §1983 and 42 U.S.C. 1985 and her derivative

civil rights under 42 U.S.C. §1983 and 42 U.S.C. 1985, which provide for this Court’s

jurisdiction under 28 U.S.C. §1331 and 28 U.S.C. §1343. Venue and jurisdiction are appropriate

in this Court as the underlying facts and circumstances occurred within the Eastern District of

Missouri.

       5.       Plaintiff Dennis L. Torres brings this action due to the violation of his civil rights

under 42 U.S.C. §1983 and 42 U.S.C. 1985 and his derivative civil rights under 42 U.S.C. §1983

and 42 U.S.C. 1985, which provide for this Court’s jurisdiction under 28 U.S.C. §1331 and 28

U.S.C. §1343.

       6.       Plaintiffs Gina Torres and Dennis L. Torres hereby request supplemental

jurisdiction of their state law claims pursuant to 28 U.S.C. §1367.

                       ALLEGATIONS COMMON TO ALL COUNTS

       7.       This is a civil action seeking money damages against the Defendants and others,

under color of state law, who deprived Isaiah M. Hammett and the named plaintiffs of rights

secured to them under the Constitution of the United States of America and other laws of the

United States. In addition, Defendants conspired to deprive Plaintiffs of those rights with the




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purpose of impeding and hindering the due course of justice, with the intent to deny Plaintiffs the

protection of the Constitution and other laws by denying him of his liberty; and for refusing,

failing or neglecting to prevent such deprivations or denials to Plaintiffs causing the wrongful

death of Isaiah M. Hammett.

       8.      On June 7, 2017, the individual Defendant Officers, using excessive force

unlawfully assaulted and shot Isaiah M. Hammett 24 times causing his wrongful death.

Defendant Lacy was present at the scene of the shooting. Additionally, on information and

belief, Defendant Lacy either provided misleading and false information to the other Defendant

Officers prior to the raid relating to the pre-raid investigation of Isaiah M. Hammett and/or

misrepresented or falsified information after the fact for the purpose of excusing the use of

excessive force by the Defendant Officers.

       9.      The City of St. Louis and the St. Louis Metropolitan Police Department have

exclusive management and control of the policies and practices of the St. Louis Metropolitan

Police Department regarding the method and manner of performing search warrants at residences

within the City of St. Louis and the method and manner of officers use of force. The Defendant

is responsible for ensuring that officers perform searches of homes and use force pursuant to and

in accordance with the United States Constitution, other laws of the United States, and the law of

the State of Missouri, and are responsible for insuring that members of the St. Louis

Metropolitan Police Department otherwise conduct themselves in a lawful manner in

undertaking and performing their duties. Defendant City of Louis violated the Plaintiffs’

foregoing rights by custom and practice of failing to train, instruct, supervise, control and

discipline the Officers of the St. Louis Metropolitan Police Department for such violations, and

said customs, practices and usages caused the deprivation of Plaintiffs’ decedent’s rights secured




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under the United States Constitution, other laws of the United States, and the laws of the State of

Missouri.

       10.     Each and all of the acts of Defendant Officers, as well as the acts of other agents

and employees of the City of St. Louis and/or the St. Louis Metropolitan Police Department were

done under color and pretense of the statutes of the State of Missouri and the regulations,

practices, customs, and usages of the City of St. Louis and the St. Louis Metropolitan Police

Department.

                                  FACTS OF OCCURRENCE

       11.     On June 7, 2017 at approximately 11:10 a.m. Defendant Officers and other

personnel of the St. Louis Metropolitan Police Department, while executing a search warrant,

broke in the front door of Plaintiff’s home using a “battering ram” and immediately detonated a

“noise diversion device” commonly known as a “flash bang.” The officers immediately entered

the residence and opened fire, discharged their weapons 93 times, shooting Isaiah M. Hammett

24 times, and killing him.

       12.     On information and belief, one of the principal motivations of the Defendant

Officers and other officers of the Department in targeting Plaintiff’s decedent and in the use of

excessive force against him was an improper effort to help an officer of the Department and a

neighbor of Plaintiffs who lived near the subject property, and who had a history of disputes with

Decedent. These personal motivations were beyond the regular course and scope of the officers’

employment with the City of St. Louis.

       13.     On information and belief, the Defendant Officers deliberately targeted Isaiah M.

Hammett and employed unreasonable and excessive force against decedent and Plaintiff Dennis

L. Torres due, at least in part, to these improper personal motivations.




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       14.       On information and belief, substantial evidence exists showing that the Defendant

Officers intentionally or recklessly used excessive, lethal force on decedent and then concealed

and altered evidence of their actions by staging the scene and filing false police reports,

including the following:

             •   While purportedly executing a “search warrant” the Officer Defendants were

                 focused on Isaiah M. Hammett personally as the “target” of the raid;

             •   Evidence disclosed by Defendants from the scene and otherwise disproves the

                 narrative provided by the Defendant Officers in the police report;

             •   Audio evidence and other evidence shows that the Defendant Officers failed to

                 adequately or properly announce their presence prior to entering the premises or

                 deploying the “flash bang” device;

             •   Information regarding Isaiah M. Hammett which was purportedly provided by

                 Defendant Lacy and/or others to the officers prior to the raid was materially false;

             •   Defendant Officers and other officers misrepresented or falsified information

                 relating to the pre-raid investigation of Isaiah M. Hammett for the purpose of

                 excusing the use of excessive force against him;

             •   Evidence demonstrates that officers staged the scene after the shooting to support

                 the narrative presented by the Defendant Officers;

             •   Forensic evidence demonstrates that Isaiah M. Hammett did not use the firearm as

                 described in the Police Report and directly contradicts the narrative presented by

                 the Defendant Officers;




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             •   The Police Report fails to identify the location of recovery of the Decedent’s

                 firearm, and the evidence demonstrates that the weapon was moved and then

                 planted under the Decedent;

             •   Officers failed to make a complete and accurate inventory of the property

                 removed from the scene, removed evidence from the scene and failed to account

                 for highly material evidence;

             •   Officers failed to preserve evidence which would have shown which firearms

                 were discharged during the incident, including shell casing evidence;

             •   Officer(s) of the Department were present at the scene but their presence was

                 intentionally omitted from Police Reports;

             •   At least some of the bullets which struck Isaiah M. Hammett were fired after he

                 was already incapacitated and on the ground.

       15.       The search warrant was predicated on affidavit(s) purportedly based on

information provided by one or more “confidential informants.” Defendants to date have refused

to provide that affidavit to Counsel for Plaintiffs for their examination. On information and

belief, and based on an examination of the search warrant and pre-execution report, the manner

in which decedent was personally targeted by the officers, and the past use of affidavits

containing false statements by officers of the Department, it appears that the search warrant was

invalid because it was issued based on supporting affidavit(s) containing false information or

statements made with reckless disregard for the truth. Probable cause did not otherwise exist for

the purported “search.”

       16.       Decedent Isaiah M. Hammett and Plaintiff Dennis L. Torres were the only two

individuals in the home at the time of the killing of Isaiah M. Hammett and the near-shooting of




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Dennis L. Torres. Neither Isaiah M. Hammett nor Dennis L. Torres were armed with any kind of

a weapon at any time before, during, or after the shooting of Isaiah M. Hammett or the near-

shooting of Dennis L. Torres. Defendant Officers opened fire without having identified

themselves as Police Officers or giving commands to Plaintiff Dennis L. Torres or Isaiah M.

Hammett or giving them a reasonable opportunity to follow commands and without having a

reasonable fear for themselves or others of being in danger of bodily harm.

                                            COUNT I

   PLAINTIFF GINA TORRES’ CAUSE OF ACTION AGAINST DEFENDANTS FOR
           EXCESSIVE FORCE COGNIZABLE UNDER 42 U.S.C. § 1983

        COMES NOW Plaintiff Gina Torres for her cause of action against Defendants Lance

Coats, Glennon P. Frigerio, Joshua D. Becherer, Nicholas J. Manasco, Ronald Allen, John C.

Jones, Mark S. Seper, Jon B. Long, Tim Boyce and Benjamin R. Lacy jointly and severally for

excessive force states as follows:

        17.     Plaintiff herewith adopt by reference paragraphs 1 through 16 of this Complaint

the same as if fully herein set forth.

        18.     Defendant Officers acting without just cause or provocation and with the intent to

cause serious bodily harm or death, assaulted, battered and killed Isaiah M. Hammett by

discharging their firearms 93 times and shooting him 24 times.

        19.     The shooting was the direct result of Defendant Officers’ failure to identify

themselves as Police Officers and/or the failure to give Plaintiff’s decedent Isaiah M. Hammett

and Plaintiff Dennis L. Torres time to obey their commands. Furthermore, any commands given

by Defendant Officers were not lawful in that they had not adequately announced that they were

police officers so that neither Plaintiff Dennis L. Torres nor Isaiah M. Hammett were made

aware that they were police officers. To the extent Defendant Officers had a right to enter the




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premises pursuant to a search warrant, the Officers’ actions in executing any such warrant were

unreasonable and in violation of Isaiah M. Hammett and Dennis L. Torres’ Fourth Amendment

rights.

          20.   Defendants had a duty to ascertain that they or someone else was at risk of

imminent serious physical injury or death before using deadly force on June 7, 2017. Isaiah M.

Hammett and Plaintiff Dennis L. Torres were the only individuals in the home. Neither Isaiah M.

Hammett nor Plaintiff Dennis L. Torres were armed at any time before, during, or after the

shooting. Defendant Officers failed to determine that there was a risk of imminent bodily injury

or death to anyone prior to using deadly force.

          21.   At no time did Isaiah M. Hammett or Plaintiff Dennis L. Torres threaten

Defendant Officers or anyone else with imminent bodily injury or death. Isaiah M. Hammett did

not commit any misdemeanor or felony or any other act which warranted the use of deadly force

by Defendant Officers.

          22.   The conduct of Defendant Officers in shooting Isaiah M. Hammett was

unreasonable, unlawful and unconstitutional in that Defendant Officers used more force than was

reasonably necessary under the circumstances. The conduct of Defendant Officers violated

clearly established constitutional rights of Plaintiff and Plaintiff’s decedent to be free from the

unreasonable use of deadly force.

          23.   The use of deadly force was clearly excessive in that, at the time the Defendant

Officers used lethal force, they did not have reason to believe that anyone posed an imminent

threat of serious physical harm either to Defendant Officers or to any other person. In fact there

was no need for force of any kind to preserve the peace, maintain order or to overcome any

resistance to authority by Isaiah M. Hammett or anyone else as set forth above.




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        24.    Furthermore, a reasonable officer in Defendant Officers’ position would have

understood that they were required to adequately announce their presence and authority under

the circumstances and prior to using lethal force. A reasonable officer in Defendant Officers’

position would have known that both Plaintiff Dennis L. Torres and Isaiah M. Hammett were not

lawfully required to, and could not reasonably be expected to, comply with orders from unknown

individuals. A reasonable officer in Defendant Officers’ position would have known that firing

approximately one hundred rounds at an unarmed individual was an unreasonable use of force

under the circumstances. Furthermore, a reasonable officer would have known of the illegality of

staging a crime scene and falsifying police reports to conceal a violation of civil rights. A

reasonable officer would have known that these actions were in violation of clearly established

law.

        25.    As a direct result of Defendant Officers’ unlawful shooting of Isaiah M. Hammett,

performed under color of law and as an exercise of Defendant Officers’ authority as St. Louis

Police Officers, Isaiah M. Hammett, suffered permanent grievous bodily harm, was deprived of

his right to be secure in his person, his right to be free from the unreasonable seizure of his

person and to be secure from the use of excessive force in violation of his rights under the Fourth

and Fourteenth Amendments to the Constitution of the United States of America and 42 U.S.C. §

1983.

        26.    As a further direct and proximate result of the conduct of Defendant Officers as

set forth above, Isaiah M. Hammett experienced pain and suffering before his death and Plaintiff

Gina Torres has been deprived of her son, Isaiah M. Hammett’s, society, comfort,

companionship, services, instruction, guidance, counsel and support as a result of the killing of

Isaiah M. Hammett by Defendant Officers.




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       27.     The acts of Defendant Officers as set forth above were intentional, wanton,

malicious, evil and oppressive, or exhibited a reckless indifference or conscious disregard for the

federally protected rights of Plaintiff’s decedent, thus entitling Plaintiff to an award of punitive

damages against Defendant City and Defendant Officers in order to punish Defendants and to

deter them and others similarly situated from like conduct in the future.

       28.     Plaintiff Gina Torres also seeks an award of attorney’s fees and costs pursuant to

42 U.S.C. § 1983.

       WHEREFORE, Plaintiff Gina Torres prays judgment against Defendant Officers jointly

and severally, for compensatory damages in an amount which is fair and reasonable, for punitive

damages in order to punish Defendants and to deter them and others similarly situated from like

conduct in the future and for the costs of this action, their attorney’s fees, interest, and for such

other and further relief as the Court deems proper under the circumstances.

                                            COUNT II

   PLAINTIFF GINA TORRES’ CAUSE OF ACTION AGAINST DEFENDANTS FOR
               CONSPIRACY UNDER 42 U.S.C. §§ 1983 AND 1985

       COMES NOW Plaintiff Gina Torres and for her cause of action for conspiracy against

Defendants Lance Coats, Glennon P. Frigerio, Joshua D. Becherer, Nicholas J. Manasco, Ronald

Allen, John C. Jones, Mark S. Seper, Jon B. Long, Tim Boyce and Benjamin R. Lacy, jointly and

severally, states as follows:

       29.     Plaintiff Gina Torres herewith adopts by reference paragraphs 1 through 28 of this

Complaint the same as if fully herein set forth.

       30.     Defendant Officers conspired with one another and with other agents and

employees of the City of St. Louis and the St. Louis Metropolitan Police Department and acted

in concert by way of an agreement to inflict the wrongs and injuries upon Plaintiff’s son as set




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forth herein. Their agreement included taking steps to cover up the acts of excessive force. The

conspiracy was intended to and did in fact deny and deprive Isaiah M. Hammett, Dennis L.

Torres and Plaintiff Gina Torres of their rights guaranteed to them under the Constitution and

laws of the United States and of the State of Missouri.

       31.     Defendant Officers and other officers and personnel of the St. Louis Metropolitan

Police Department and others acted in furtherance of the objective of the conspiracy by falsely

reporting the facts of the killing of Isaiah M. Hammett, and by taking other actions to prevent

Plaintiff’s decedent from being free from unreasonable use of force, search and seizure and

gaining his liberty. The conspiracy included but was not limited to the use of excessive force,

and the making of false and misleading statements after the events at issue so as to justify the

shootings and to create an appearance not in accordance with the actual facts of the shooting and

Plaintiff’s decedent’s death.

       32.     The acts of Defendants as set forth above were intentional, wanton, malicious,

evil and oppressive, or exhibited a reckless indifference to the federally protected rights of

Plaintiff, thus entitling Plaintiff to an award of punitive damages against Defendants in order to

punish these defendants and to deter others from like conduct in the future. Plaintiff Gina Torres

also seeks an award of attorney’s fees and costs pursuant to 42 U.S.C. § 1983.

       WHEREFORE, Plaintiff Gina Torres prays judgment against Defendant Officers jointly

and severally for compensatory damages in an amount which is fair and reasonable, for punitive

damages against Defendant Officers, in order to punish and to deter them and others similarly

situated from like conduct in the future and for the costs of this action, attorney’s fees, interest,

and such other and further relief as the Court deems fair and proper under the circumstances.

                                           COUNT III




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  PLAINTIFF GINA TORRES’ CAUSE OF ACTION AGAINST CITY OF ST. LOUIS
  FOR FAILURE TO TRAIN, SUPERVISE OR DISCIPLINE UNDER 42 U.S.C § 1983

        COMES NOW Plaintiffs Gina Torres for her cause of action against Defendant City of

St. Louis, states as follows:

        33.     Plaintiff herewith adopts by reference paragraphs 1 through 29 of this Complaint

the same as if fully herein set forth.

        34.     Defendant City of St. Louis is vested with the authority to establish policies or

customs, practices and usages of the St. Louis Metropolitan Police Department through training,

supervision, discipline and otherwise controlling the officers of the St. Louis Metropolitan Police

Department.

        35.     There exists within the St. Louis Metropolitan Police Department policies or

customs, practices and usages that are so pervasive that they constitute the policies of the

department, such that they are and were the moving force behind and caused the constitutional

deprivations of the Plaintiff’s Constitutional rights as have been set forth herein:

        36.     The policies, customs, practices and usages that exist are:

                (a)     The officers of the St. Louis Metropolitan Police Department use

        excessive force without regard for the need for the use of force, or without regard for the

        legality of its use;

                (b)     The officers of the St. Louis Metropolitan Police Department conspire

        with one another to “cover” for and protect one another from criminal and/or civil

        sanctions that might arise from the violation of the constitutional rights of citizens;

                (c)     The officers of the St. Louis Metropolitan Police Department engage in

        conduct that violates the constitutional rights of citizens with whom they come in contact,




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     including, but not limited to arresting, detaining and prosecuting people in violation of

     the constitution and laws, both by the acts and means by which they are accomplished;

            (d)       The officers do not use the least intrusive means of force necessary and

     the officers, by their words or actions, escalate encounters with citizens creating or

     causing the need for officers to use force or to use more force than otherwise would have

     been required;

            (e)       The officers unlawfully and unreasonably use deadly force to combat non-

     deadly force, without giving subjects an opportunity to comply, and in other situations

     that could be controlled by the use of other means;

            (f)       Additionally,     on     information    and    belief,    the   officers    of   the

     Department prior to the execution of this search warrant had a practice and custom of

     fraudulently concocting affidavits, making false statements knowingly or with reckless

     disregard for the truth in support of search warrants;

            (g)       The practice and custom of fraudulently concocting affidavits in support

     of   search      warrants    has        included   the    use     by      officers   of     fictitious

     information purportedly from confidential informants and in boilerplate assertions

     regarding criminal activity purportedly observed on certain premises;

            (h)       On information and belief, the actions of officers of the Department in

     fraudulently concocting affidavits has in the past previously resulted in at least one

     officer leaving the Department under investigation, after evidence emerged that he had

     manufactured numerous affidavits in support of search warrants which were substantially

     identical or verbatim, with only the address and names changed. On information and

     belief, criminal charges were never pressed or pursued against that officer in spite of the




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       foregoing.

       37.     On information and belief, Defendants have actual notice of these pervasive

customs, practices and usages because, among other things, a pattern of prior incidents of

shootings and other use of excessive force by officers. Despite these prior incidents, Defendants

and others failed to train and supervise their officers, have done nothing to remedy these

pervasive customs, practices and usages, and in fact have turned a “blind eye” to them.

       38.     Furthermore, the failure to train, discipline or supervise by Defendants has

resulted in members of the St. Louis Metropolitan Police Department using excessive force as a

matter of custom in violation of clearly established law. The failure to train, supervise or

discipline the Department’s officers, including Defendant Officers, is not objectively reasonable.

       39.     Additionally, Defendant is in possession of Defendant Officers’ personnel files,

including their disciplinary records, which may disclose additional grounds for Defendant’s

failure to train, supervise, or discipline Defendant Officers.

       40.      As a result of Defendant City of St. Louis’ failure to train, discipline or supervise

the officers of the department, including Defendant Officers, they deprived Plaintiff Gina Torres’

son of his rights to be free from excessive force and unlawful and unreasonable seizure in

violation of the Fourth and Fourteenth Amendments to the Constitution of the United States and

remediable under 42 U.S.C. § 1983. Plaintiff Gina Torres also seeks an award of attorney’s fees

and costs pursuant to 42 U.S.C. § 1983.

       WHEREFORE, Plaintiff Gina Torres prays judgment against Defendants City of St.

Louis for compensatory damages in an amount which is fair and reasonable, and for the costs of

this action, attorney’s fees, interest, and such other and further relief as the Court deems fair and

proper under the circumstances.




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                                            COUNT IV

     PLAINTIFF GINA TORRES’ CAUSE OF ACTION AGAINST DEFENDANT
    OFFICERS AND DEFENDANT CITY OF ST. LOUIS FOR WRONGFUL DEATH
                  PURSUANT TO SECTION 537.080 RSMO

       COMES NOW Plaintiff Gina Torres and for her cause of action for wrongful death

against Defendant Officers and Defendant City of St. Louis jointly and severally states as

follows:

       41.     Plaintiff herewith adopts by reference each and every allegation in paragraphs 1

through 40 of this Amended Complaint the same as if fully herein set forth.

       42.     At all relevant times, Defendant Officers as law enforcement officers armed with

deadly weapons owed Plaintiffs’ decedent, Isaiah M. Hammett, the duty to exercise the highest

degree of care for his safety under the same or similar circumstances by law enforcement

officers. In particular, Defendant Officers owed Plaintiffs’ decedent the duty to determine that

there was an imminent danger of serious physical injury or death to Defendant Officers or others

before using deadly force by firing their weapons into Isaiah M. Hammett.

       43.     Defendant Officers breached their duty to exercise the highest degree of care by

failing to determine that imminent danger of serious physical injury or death existed before

opening fire with their weapons into Isaiah M. Hammett and by using excessive force.

Furthermore, Defendant Officers’ actions as described above were in bad faith and constituted a

conscious abuse of their powers and duties as police officers, such that Defendant Officers are

not entitled to official immunity.

       44.     Furthermore, and pleading in the alternative, Defendant Officers’ actions were

taken within the course and scope of their employment with the City of St. Louis and the St.

Louis Metropolitan Police Department, and Defendant City of St. Louis has waived sovereign




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immunity as to the actions of its agents and employees, the Officer Defendants, undertaken in the

course of their official duties, in that City of St. Louis has obtained a policy or self-insurance

plan which is liable to satisfy all or part of a possible judgment in the action or to indemnify or

reimburse for payments made to satisfy a judgment in this action. Namely, Defendant City of St.

Louis obtains insurance from the Public Facilities Protection Corporation, a not-for-profit

corporation which is funded, at least in part, by annual payments from the City. On information

and belief, the funds are later disbursed by the corporation to pay any and all claims against the

City, including claims against City police officers relating to the use of excessive force. The

coverage provided by the PFPC constitutes insurance or, in the alternative, a self-insurance plan,

for purposes of Section 537.610 R.S.Mo.

       45.     As a direct and proximate result of the negligence of Defendant Officers as set

forth above, Isaiah M. Hammett experienced pain and suffering before his death and Plaintiff

Gina Torres has been deprived of Isaiah M. Hammett’s society, comfort, companionship,

services, instruction, guidance, counsel and support as a result of the wrongful killing of Isaiah

M. Hammett.

       WHEREFORE, Plaintiff Gina Torres prays judgment against Defendants jointly and

severally, for compensatory damages in an amount which is fair and reasonable, for punitive

damages in order to punish and to deter them and others similarly situated from like conduct in

the future and for the costs of this action, attorney’s fees, interest, and such other and further

relief as the Court deems fair and proper under the circumstances.

                                           COUNT V

  PLAINTIFF DENNIS L. TORRES’ CAUSE OF ACTION AGAINST DEFENDANTS
    FOR EXCESSIVE FORCE AND UNREASONABLE SEARCH AND SEIZURE
                  COGNIZABLE UNDER 42 U.S.C. § 1983




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       COMES NOW Plaintiff Dennis L. Torres for his cause of action against the Defendant

Officers jointly and severally states as follows:

       46.     Plaintiff herewith adopt by reference paragraphs 1 through 45 of this Amended

Complaint the same as if fully herein set forth.

       47.     As set forth above, Defendant Officers used excessive force, when they acted

without just cause or provocation and with the intent to cause serious bodily harm or death, and

assaulted, battered and killed Isaiah M. Hammett by discharging their firearms 93 times striking

him in his body 24 times.

       48.     The shooting was the direct result of Defendant Officers’ failure to identify

themselves as Police Officers and/or the failure to give Plaintiff Dennis L. Torres and Isaiah M.

Hammett time to obey their orders, or in the alternative the Officers’ intentional use of excessive

force. Furthermore, any orders given by Defendant Officers were not lawful in that they had not

adequately announced that they were police officers so that neither Plaintiff Dennis L. Torres nor

Isaiah M. Hammett were made aware that they were police officers.

       49.     Defendants had a duty to ascertain that they or someone else was at risk of

imminent serious physical injury or death before using deadly force on June 7, 2017. Isaiah M.

Hammett and Plaintiff Dennis L. Torres were the only individuals in the home. Neither Isaiah M.

Hammett nor Plaintiff Dennis L. Torres were armed at any time before, during, or after the

shooting. Defendant Officers failed to determine that there was a risk of imminent bodily injury

or death to anyone before using deadly force.

       50.     At no time did Isaiah M. Hammett or Plaintiff Dennis L. Torres threaten

Defendant Officers or anyone else with imminent bodily injury or death. Neither Isaiah M.




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Hammett nor Plaintiff Dennis L. Torres committed any misdemeanor or felony or any other act,

which would have warranted the use of deadly force by Defendant Officers.

       51.     The conduct of Defendant Officers              was   unreasonable, unlawful and

unconstitutional in that Defendant Officers used more force than was reasonably necessary under

the circumstances.

       52.     The use of deadly force was clearly excessive in that Defendant Officers did not

have any probable cause or reasonable suspicion to believe that anyone posed a threat of serious

physical harm either to Defendant Officers or to any other person at the time that the force was

used. In fact and in truth there was no need for force of any kind to preserve the peace, maintain

order or to overcome any resistance to authority by Isaiah M. Hammett or anyone else as set

forth above.

       53.     Furthermore, a reasonable officer in Defendant Officers’ position would have

understood that they were required to adequately announce their presence and authority under

the circumstances. A reasonable officer in Defendant Officers’ position would have known that

both Plaintiff Dennis L. Torres and Isaiah M. Hammett were not lawfully required to, and could

not reasonably be expected to, comply with orders from unknown individuals. A reasonable

officer in Defendant Officers’ position would have known that firing approximately one hundred

rounds at an unarmed individual was an unreasonable use of force under the circumstances.

Furthermore, a reasonable officer would have known of the illegality of tampering with evidence

and staging the crime scene and falsifying police reports to conceal a violation of civil rights.

       54.     As a direct result of Defendant Officers’ unlawful shooting and excessive use of

force, Plaintiff Dennis L. Torres was exposed to the Defendant Officers’ barrage of gunfire,

placed in fear for his life, and suffered extreme emotional distress. Furthermore, Plaintiff Dennis




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L. Torres’ property was damaged by Defendants unreasonable use of force and unreasonable

execution of what was purportedly a search warrant. Plaintiff Dennis L. Torres was thereby

deprived of his right to be secure in his person, his right to be free from the unreasonable seizure

of his person, his right to be free from unreasonable and unnecessary damage to his property

incident to a search, and his right to be secure from the use of excessive force in violation of his

rights under the Fourth and Fourteenth Amendments to the Constitution of the United States of

America and 42 U.S.C. § 1983.

       55.     As a further direct and proximate result of the conduct of Defendant Officers as

set forth above, Plaintiff Dennis L. Torres has been deprived of his grandson and care giver.

Isaiah M. Hammett was at the time of his death was a care giver certified by the Veteran’s

Administration to provide home care to Plaintiff Dennis L. Torres, who is a Veteran of the

United States Army who suffered wounds to his back, chest, right hand and low back in addition

to being exposed to agent orange while serving our country in the war in Vietnam.

       56.     The acts of Defendant Officers as set forth above were intentional, wanton,

malicious, evil and oppressive, or exhibited a reckless indifference or conscious disregard for the

federally protected rights of plaintiff, thus entitling plaintiff to an award of punitive damages

against Defendant Officers in order to punish Defendants and to deter them and others similarly

situated from like conduct in the future.

       57.     Plaintiff Dennis L. Torres also seeks an award of attorney’s fees and costs

pursuant to 42 U.S.C. § 1983.

       WHEREFORE, Plaintiff Dennis L. Torres prays judgment against Defendant Officers

jointly and severally, for compensatory damages in an amount which is fair and reasonable, for

punitive damages in order to punish Defendants and to deter them and others similarly situated




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from like conduct in the future and for the costs of this action, their attorney’s fees, interest, and

for such other and further relief as the Court deems proper under the circumstances.

                                            COUNT VI

   PLAINTIFF DENNIS L. TORRES’ CAUSE OF ACTION AGAINST DEFENDANT
        OFFICERS FOR CONSPIRACY UNDER 42 U.S.C. §§ 1983 AND 1985

       COMES NOW Plaintiff Dennis L. Torres and for his cause of action for conspiracy

against Defendants Lance Coats, Glennon P. Frigerio, Joshua D. Becherer, Nicholas J. Manasco,

Ronald Allen, John C. Jones, Mark S. Seper, Jon B. Long, Tim Boyce and Benjamin R. Lacy,

jointly and severally, states as follows:

       58.     Plaintiff herewith adopts by reference paragraphs 1 through 57 of this Amended

Complaint the same as if fully herein set forth.

       59.     Defendant Officers conspired with one another and with other agents and

employees of the City of St. Louis and the St. Louis Metropolitan Police Department and acted

in concert by way of an agreement to inflict the wrongs and injuries upon Plaintiff as set forth

herein. Their agreement included taking steps to cover up the acts of excessive force. The

conspiracy was intended to deny and deprive Isaiah M. Hammett and Plaintiff Dennis L. Torres

of their rights guaranteed to them under the Constitution and laws of the United States and of the

State of Missouri.

       60.     Defendant Officers and other officers and personnel of the St. Louis Metropolitan

Police Department and others acted in furtherance of the objective of the conspiracy by falsely

reporting the facts of the killing of Isaiah M. Hammett, and by taking other actions to prevent

Plaintiff Dennis L. Torres from being free from unreasonable use of force, search and seizure

and gaining his liberty. The conspiracy included but was not limited to the use of excessive

force, the unlawful detention and restraint of Plaintiff Dennis L. Torres, tampering with




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evidence, the staging of the scene after the shooting and the making of false and misleading

statements after the events at issue so as to justify the shootings and to create an appearance not

in accordance with the actual facts of the shooting and Isaiah M. Hammett’s death.

       61.     The acts of Defendants as set forth above were intentional, wanton, malicious,

evil and oppressive, or exhibited a reckless indifference to the federally protected rights of

Plaintiff, thus entitling Plaintiff to an award of punitive damages against Defendants in order to

punish these defendants and to deter others from like conduct in the future. Plaintiff Dennis L.

Torres also seeks an award of attorney’s fees and costs pursuant to 42 U.S.C. § 1983.

       WHEREFORE, Plaintiff Dennis L. Torres prays judgment against Defendants jointly and

severally for compensatory damages in an amount which is fair and reasonable, for punitive

damages against Defendant Officers, in order to punish and to deter them and others similarly

situated from like conduct in the future and for the costs of this action, attorney’s fees, interest,

and such other and further relief as the Court deems fair and proper under the circumstances.

                                           COUNT VII

   PLAINTIFF DENNIS L. TORRES’ CAUSE OF ACTION AGAINST THE CITY OF
    ST. LOUIS FOR FAILURE TO TRAIN, SUPERVISE OR DISCIPLINE UNDER
                             42 U.S.C § 1983

       COMES NOW Plaintiff Dennis L. Torres for his cause of action against Defendant City

of St. Louis, states as follows:

       62.     Plaintiff herewith adopts by reference paragraphs 1 through 61 of this Amended

Complaint the same as if fully herein set forth.

       63.     Defendant City of St. Louis is vested with the authority to establish policies or

customs, practices and usages of the St. Louis Metropolitan Police Department through training,

supervision, discipline and otherwise controlling the officers of the St. Louis Metropolitan Police




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Department.     As set forth above, there exists within the St. Louis Metropolitan Police

Department policies or customs, practices and usages with regard to the use of force that are so

pervasive that they constitute the policies of the department, such that they are and were the

moving force behind and caused the constitutional deprivations of the Plaintiff’s Constitutional

rights.

          64.   On information and belief, Defendant has actual notice of these pervasive

customs, practices and usages because, among other things, a pattern of prior incidents of use of

excessive force by officers. Despite these prior incidents, Defendant and others failed to train and

supervise their officers, have done nothing to remedy these pervasive customs, practices and

usages, and in fact have turned a “blind eye” to them, all as set forth above. This pattern of prior

incidents of excessive force included multiple incidents of the improper use of lethal force,

including officer’s use of firearms. Furthermore, on information and belief, despite hundreds of

allegations of excessive force and physical abuse brought against officers of the St. Louis

Metropolitan Police Department in the years prior to the shooting, charges against officers were

almost never sustained. Furthermore, on information and belief, many additional instances of

excessive force were known to the Department but never resulted in charges against the officers

involved, such that these statistics significantly understate the extent and scope of the

constitutional violations.

          65.   Furthermore, the failure to train, discipline or supervise by Defendant has resulted

in members of the St. Louis Metropolitan Police Department using excessive force as a matter of

custom in violation of clearly established law. The failure to train, supervise or discipline the

Department’s officers, including Defendant Officers, is not objectively reasonable.




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       66.     Additionally, Defendant is in possession of Defendant Officers’ personnel files,

including their disciplinary records, which may disclose additional grounds for Defendants’

failure to train, supervise, or discipline Defendant Officers.

       67.      As a result of Defendant’s failure to train, discipline or supervise the officers of

the department, including Defendant Officers, they deprived Plaintiff Dennis L. Torres of his

rights to be free from excessive force and unlawful and unreasonable seizure in violation of the

Fourth and Fourteenth Amendments to the Constitution of the United States and remediable

under 42 U.S.C. § 1983. Plaintiff Dennis L. Torres also seeks an award of attorney’s fees and

costs pursuant to 42 U.S.C. § 1983.

       WHEREFORE, Plaintiff Dennis L. Torres prays judgment against Defendants City of St.

Louis for compensatory damages in an amount which is fair and reasonable, and for the costs of

this action, attorney’s fees, interest, and such other and further relief as the Court deems fair and

proper under the circumstances.

                                           COUNT VIII

       PLAINTIFF DENNIS L. TORRES’ CLAIM AGAINST DEFENDANTS FOR
         INFLICTION OF EMOTIONAL DISTRESS UNDER MISSOURI LAW

       COMES NOW Plaintiff Dennis L. Torres and for his cause of action against all

Defendants, jointly and severally, states as follows:

       68.     Plaintiff herewith adopts by reference paragraphs 1 through 67 of this Amended

Complaint the same as if fully herein set forth.

       69.     Defendants owed a duty as police officers to use only reasonable force and to

protect the Plaintiff from injury if possible. Nevertheless, Defendant Officers intentionally or

recklessly fired their weapons in the direction of Plaintiff Dennis L. Torres.




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        70.      Defendant Officers conduct was extreme and outrageous because they failed to

identify themselves as Police Officers and/or failed to give Plaintiff Dennis L. Torres or Isaiah

M. Hammett time to obey their orders, or attempted to ascertain if anyone other than Isaiah M.

Hammett was in the house before breaking in Plaintiff’s front door, using a “noise diversion

device” and opening fire on an unsuspecting Plaintiff and Isaiah M. Hammett. Furthermore,

defendants should have realized that their conduct involved an unreasonable risk of causing

distress to Plaintiff.

        71.      Defendant Officers’ conduct caused Plaintiff Dennis L. Torres, who was in the

zone of danger, to be in fear of physical injury and severe emotional distress.

        72.      As a direct result of the foregoing Plaintiff Dennis L. Torres has suffered and is

likely to suffer in the future from medically diagnosable and medically severe emotional distress,

of sufficient severity to be medically significant.

        73.      Defendant Officers’ actions were in bad faith and constituted a conscious abuse of

their powers and duties as police officers, such that Defendant Officers are not entitled to official

immunity.

        74.      Defendants’ reckless infliction of emotional distress, as set forth above, was

carried out intentionally and/or with reckless indifference and conscious disregard to the rights of

Plaintiff Dennis L. Torres, thereby entitling Plaintiff Dennis L. Torres to punitive damages in an

amount sufficient to punish and deter Defendants and others similarly situated from like conduct

in the future.

        WHEREFORE, Plaintiff Dennis L. Torres prays judgment against Defendant Officers

and Defendant City of St. Louis jointly and severally for compensatory damages in an amount

which is fair and reasonable, for punitive damages in order to punish and to deter them and




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others similarly situated from like conduct in the future and for the costs of this action, interest,

and such other and further relief as the Court deems fair and proper under the circumstances.

                                                      DOWD & DOWD, P.C.


                                              By:     /s/ Richard K. Dowd
                                                      Richard K. Dowd (33383)
                                                      Alex R. Lumaghi (56569)
                                                      211 N. Broadway, Suite 4050
                                                      St. Louis, MO 63102
                                                      (314) 621-2500
                                                      (314) 621-2503 Facsimile
                                                      rdowd@dowdlaw.net
                                                      alex@dowdlaw.net
                                                      Attorneys for Plaintiffs




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